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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORJDA
                                FORT MYERS DIVISION

MELLISSA MORROW,

       Plaintiff,

v.                                                   Case No.: 2:14-cv-001 74-JES-CM

NAVlENT SOLUTIONS, INC.,

       Defendant.
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                    STIPULATION OF DISMI SSAL WITH PREJUDICE

       Plaintiff, Mellissa Morrow, and Defendant, Navienl Solutions, Inc., stipulate to the

dismissal of th is case with prejudice, and with each party to be responsible for the payment of its

own attorney's fees and costs.




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